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    In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 19-389V
                                          UNPUBLISHED


    MERCEDES GALLAGHER,                                         Chief Special Master Corcoran

                         Petitioner,                            Filed: August 12, 2020
    v.
                                                                Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                     Damages Decision Based on Proffer;
    HUMAN SERVICES,                                             Meningococcal Vaccine; Shoulder
                                                                Injury Related to Vaccine
                         Respondent.                            Administration (SIRVA)


Bridget Candace McCullough, Muller Brazil, LLP, Dresher, PA, for petitioner.

Dhairya Divyakant Jani, U.S. Department of Justice, Washington, DC, for respondent.


                                 DECISION AWARDING DAMAGES 1

       On March 14, 2019, Mercedes Gallagher filed a petition for compensation under
the National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq. 2 (the
“Vaccine Act”). Petitioner alleges that she suffered a shoulder injury related to vaccine
administration (“SIRVA”) following the administration of two meningococcal vaccines on
January 11, 2018. Petition at 1. Petitioner further alleges that the vaccines were
administered within the United States, that the sequalae of her injury last for more than
six months, and that there has been no compensation in the form of an award or
settlement for Petitioner’s vaccine-related injury. Petition at 3-4. The case was assigned
to the Special Processing Unit of the Office of Special Masters.

     On May 11, 2020, a ruling on entitlement was issued, finding Petitioner entitled to
compensation for a SIRVA. On August 12, 2020, Respondent filed a proffer on award of

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   Because this unpublished decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.
2
  National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. § 300aa
(2012).
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compensation (“Proffer”) indicating Petitioner should be awarded $55,080.00 consisting
of $55,000.00 for pain and suffering and $80.00 for past unreimbursable expenses.
Proffer at 1-2. In the Proffer, Respondent represented that Petitioner agrees with the
proffered award. Id. Based on the record as a whole, I find that Petitioner is entitled to an
award as stated in the Proffer.

       Pursuant to the terms stated in the attached Proffer, I award Petitioner a lump
sum payment of $55,080.00 (consisting of $55,000.00 for pain and suffering and
$80.00 for past unreimbursable expenses) in the form of a check payable to
Petitioner. This amount represents compensation for all damages that would be available
under § 15(a).

       The clerk of the court is directed to enter judgment in accordance with this
decision. 3

IT IS SO ORDERED.


                                         s/Brian H. Corcoran
                                         Brian H. Corcoran
                                         Chief Special Master




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  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.


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               IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                         OFFICE OF SPECIAL MASTERS

*****************************
MERCEDES GALLAGHER,         *
                            *
              Petitioner,   *
                            *
v.                          *                               No. 19-389V (ECF)
                            *                               CHIEF SPECIAL MASTER
                            *                               BRIAN H. CORCORAN
SECRETARY OF HEALTH         *
AND HUMAN SERVICES,         *
                            *
              Respondent.   *
*****************************

            RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

       On March 14, 2019, Mercedes Gallagher (“petitioner”) filed a petition for compensation

under the National Childhood Vaccine Injury Act of 1986, 42 U.S.C. §§ 300aa-1 to -34

(“Vaccine Act” or “Act”), alleging that she suffered a Shoulder Injury Related to Vaccine

Administration (“SIRVA”), as defined in the Vaccine Injury Table, following administration of

two meningococcal vaccines on January 11, 2018. Petition at 1. On May 7, 2020, the Secretary

of Health and Human Services (“respondent”) filed a Rule 4(c) Report indicating that this case is

appropriate for compensation under the terms of the Act for a SIRVA Table injury, and on May

11, 2020, the Chief Special Master issued a Ruling on Entitlement finding petitioner entitled to

compensation. ECF No. 21; ECF No. 22.

I.     Items of Compensation

       A.      Pain and Suffering

       Respondent proffers that petitioner should be awarded $55,000.00 in pain and suffering.

See 42 U.S.C. § 300aa-15(a)(4). Petitioner agrees.
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       B.       Past Unreimbursable Expenses

       Evidence supplied by petitioner documents that she incurred past unreimbursable

expenses related to her vaccine-related injury. Respondent proffers that petitioner should be

awarded past unreimbursable expenses in the amount of $80.00. See 42 U.S.C. § 300aa-

15(a)(1)(B). Petitioner agrees.

       These amounts represent all elements of compensation to which petitioner is entitled

under 42 U.S.C. § 300aa-15(a). Petitioner agrees.

II.    Form of the Award

       Petitioner is a competent adult. Evidence of guardianship is not required in this case.

Respondent recommends that the compensation provided to petitioner should be made through a

lump sum payment as described below and requests that the Chief Special Master’s decision and

the Court’s judgment award the following 1: a lump sum payment of $55,080.00, in the form of a

check payable to petitioner.

III.   Summary of Recommended Payments Following Judgment

       Lump sum payable to petitioner, Mercedes Gallagher:                          $55,080.00

                                              Respectfully submitted,

                                              ETHAN P. DAVIS
                                              Acting Assistant Attorney General

                                              C. SALVATORE D’ALESSIO
                                              Acting Director
                                              Torts Branch, Civil Division

                                              CATHARINE E. REEVES
                                              Deputy Director
                                              Torts Branch, Civil Division


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  Should petitioner die prior to entry of judgment, the parties reserve the right to move the Court
for appropriate relief. In particular, respondent would oppose any award for future lost earnings
and future pain and suffering.
                                                 2
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                                   HEATHER L. PEARLMAN
                                   Assistant Director
                                   Torts Branch, Civil Division

                                   /s/ DHAIRYA D. JANI
                                   DHAIRYA D. JANI
                                   Trial Attorney
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                                   Washington, D.C. 20044-0146
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Dated: August 12, 2020




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